              CASE 0:21-cv-02414-JRT-DTS Doc. 1 Filed 11/01/21 Page 1 of 5




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                         LINITED S TATE S DI S TRICT COUITT                       PAU L, MI NNESOTA

                             DISTRICT OF MINNESOTA


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  VS,                                                          caseNo    AlcrL4trl ,YrpD
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                                        ^                      DEMAND FOR ruRY TzuAL
                                                                           Nl
                                                                       vEslEl        Nol-_l
                             Def-endant(s).
                                                                           v-
  (Enter the full name(s) of ALL defendants in
  this lawsuit. Please attach additional sheets
  if necessary).


                                              COMPLAINT

  PARTIES

  l.    List your name, address and telephone number. Do the same for any additional plaintiffs.

        a.   Plaintiff

             Name     Stewn A /Vdrun f,r,
             Street Address t5 f t, l1A n p /r r, tv t
                             n
             county,city lYAntVy fr,) L /or,                  /
                          /)41V, f 5 t t +
             State& zipcode

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                                                                                    U.S. DISTRICT COUBT ST. PAUL
            CASE 0:21-cv-02414-JRT-DTS Doc. 1 Filed 11/01/21 Page 2 of 5




 2.   List all defendants. You should state the full name of the defendant, even if that defendant is
      a government agency, an organization, a corporation, or an individual. Include the address
      where each defendant may be served. Make sure that the defendant(s) listed below are
      identical to those contained in the above caption.

      a.   Defendant No. l_

           Name       5olht/a,lt CtlY Cov'4otl
           Street   Address     j to -A      Cibv H e l/ /,0     lft /lo € f H/r J ,
           Counry,city flOmf€y
           State&Zipcode 5o,it /ny/rtt4n {f tol-
      b.   Defendant No,   2                                                                            I
           Name     flo^t ey ( o uo ty /tea llh t tpilnent
           Street Address 3'5 7
                                tl lol' E
                                          '
           county, city flta 5 Ey   fu?ai   t /*q /
           State& Zipcode /W inicta{z 5 I t I /

      c.   Defendant No.   3


           Name   J"tnh1- yV et Gun fnr,i*lrl Artor,atro     AIor- frro Kerr
                                                         ^ol
           StreetAddress I b +7 l'o'r" I frve fa''  [  /a' /
           county,   city
                                 A
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                                 ha                 I
           State   & zip code   /)/l r n   Ttt   O f,A,


NOTE: IF THERE ARE ADDITIONAL PLAINTIFF.S oR DEFENDANTS, PLEASE
PROVIDE THEIR NAMES AND ADDRESSES ON A SEPARATE SHEET OF PAPER.
Check here if additional sheets of paper are attached:l--l
Please label the attached sheets of paper to correspond to ttre appropriate numbered
paragraph above (e.g. Additional Defendants 2.d.,2,e., etc.)
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 ruRISDICTION

 Federal courts are courts of limited jurisdiction. Generally, two types of cases can be heard in
 federal court: cases involving a federal question and cases involving diversity of citizenship of
 the parties. Under 28 U.S,C, $ 1331, a case involving the United States Constitution or federal
 laws or treaties is a federal question case. Under 28 U.S.C. $ 1332, a case in which a citizen of
 one state sues a citizen of another state and the amount of damages is more than $75,000 is a
 diversity of citizenship case.

 3.   what is the basis for federal court jurisdiction? (check ail that appU
            '-/-J
           ffiFederalQuestion ffOiuersity                of Citizenship

 4.   If the basis for jurisdiction is Federal Question, which Federal Constitutional, starutory or
      treaty-right is at issue? List all that apply.
                                                  'a-t
           rt    u,1,c, { l73rr a,         ['            U,S,c,    t 171? '

 5. If the basis for jurisdiction is Diversityof Citizenship, what is the state of citizenship of each
      pafty? Each Plaintiff must be diverse from each Defendant for diversity jurisdiction.

      PlaintiffNane:    f,to{to   A,   fi/elro,   fr       Stateof citizenship:   /VlmTteg0tt
      DefendantNo. r:    5f,Paul, C,Lvh!,ftLt,,{ r,u,.of citizensh rp, /iltnnatata
      Defendant     No.z:fl, Pur), Dvpfi, of HeaM ,rurrof citizensh ip,    , h he s o/a
                                                                                  il)
      Attach additional sheets of paper as necessary and label this information as paragraph
      5.
      Check here if additionar sheets of paper are attache
                                                                 ^{
6.    What is the basis for venue in the District of Minne sota? (check all that apply)
           J                                       -       ./
                            reside in Minnesotu
           JXn"f.ndant(s)           F/.tr:fl""t.O below primarily occurred in
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       lWow'*h* t ssue- ti cta.itr"L"dr-f4;,r'tVi;t ;Ft;; /oii'thit
           hvnfsr'''
STATEMENT OF THE CLAIM

Describe in the space provided below the basic facts of your claim. The description of facts
should include a specific explanation of how, where, and when each of the defendants named in
the caption violated the- law, and how you werg harmecl. Each paragraph must be numbered

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         CASE 0:21-cv-02414-JRT-DTS Doc. 1 Filed 11/01/21 Page 4 of 5




  separately, beginning with number   7.   Please write each single set of circumstances in a
  separately numbered paragraph.

  7.   , For\r',      /+fnifAp fi.nat"t.oarur.a,n/ /o"op/* p/(q/rror*ffrgr/,                                /
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 Attach additional sheets of paper as necessary.
 Check here if additional sheets of paper are attacheO,l__..]
 Please label the attached sheets of paper to as AdditionTfFacts and continue to number the
 paragraphs consecutively.


 REQUEST FOR RELIEF

 State what you want the Coqrt to do for you andthe amount of monetary compqnsation,            if   any,
 youareseeking
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Signed this   I I     day   of   /il've*[rr A,ol /

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Note: All plaintiffs named in the caption of the complaint
                                                         must date and sign the complaint and
provide his/her mailing address and telephone number. Attach additional sheets of paper as
necessary.
